               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


ANITA S. EARLS,                    )
                                   )
          Plaintiff,               )
                                   )
     v.                            )        1:23-cv-734
                                   )
NORTH CAROLINA JUDICIAL            )
STANDARDS COMMISSION, et al.,      )
                                   )
          Defendants.              )

                                 ORDER

OSTEEN, JR., District Judge

     Plaintiff has filed an Emergency Motion for Injunction

Pending Appeal pursuant to Federal Rule of Civil Procedure 62(d)

and Federal Rule of Appellate Procedure 8(a)(1)(C). (Doc. 35.)

Plaintiff requests an injunction pending appeal prohibiting

Defendants from conducting any further investigation or hearing

concerning her statements. (Id. at 1.)

     In determining whether to issue a stay or injunction pending

appeal, this court has considered the four factors for an

injunction, see Real Truth About Obama, Inc. v. FEC, 575 F.3d

342, 347 (4th Cir. 2009), vacated on other grounds, 559 U.S. 1089

(2010), as addressed in its Memorandum Opinion and Order,

(Doc. 33), and the legal requirements set forth in Nken v.

Holder, 556 U.S. 418 (2009). See, e.g., Coal. for TJ v. Fairfax

Cnty. Sch. Bd., No. 22-1280, 2022 WL 986994, at *1 (4th Cir. Mar.




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31, 2022) (“Appellant has satisfied the applicable legal

requirements for a stay pending appeal, see Nken v. Holder, 556

U.S. 418 (2009)[.]”) The Court in Nken explained:

          “A stay is not a matter of right, even if
     irreparable injury might otherwise result.” Virginian
     R. Co., 272 U.S., at 672, 47 S.Ct. 222. It is instead
     “an exercise of judicial discretion,” and “[t]he
     propriety   of  its   issue   is  dependent  upon   the
     circumstances of the particular case.” Id., at 672–673,
     47 S.Ct. 222; see Hilton, supra, at 777, 107 S.Ct. 2113
     (“[T]he    traditional    stay   factors    contemplate
     individualized judgments in each case”).

     . . .

          The fact that the issuance of a stay is left to
     the court's discretion “does not mean that no legal
     standard governs that discretion . . . . ‘[A] motion to
     [a court's] discretion is a motion, not to its
     inclination, but to its judgment; and its judgment is
     to be guided by sound legal principles.’” Martin v.
     Franklin Capital Corp., 546 U.S. 132, 139, 126 S.Ct.
     704, 163 L.Ed.2d 547 (2005) (quoting United States v.
     Burr, 25 F.Cas. 30, 35 (No. 14,692d) (CC Va. 1807)
     (Marshall, C.J.)). As noted earlier, those legal
     principles have been distilled into consideration of
     four factors: “(1) whether the stay applicant has made
     a strong showing that he is likely to succeed on the
     merits; (2) whether the applicant will be irreparably
     injured absent a stay; (3) whether issuance of the stay
     will substantially injure the other parties interested
     in the proceeding; and (4) where the public interest
     lies.” Hilton, supra, at 776, 107 S.Ct. 2113. There is
     substantial overlap between these and the factors
     governing preliminary injunctions, see Winter v.
     Natural Resources Defense Council, Inc., 555 U.S. 7,
     24, 129 S.Ct. 365, 376–77, 172 L.Ed.2d 249 (2008); not
     because the two are one and the same, but because
     similar concerns arise whenever a court order may allow
     or disallow anticipated action before the legality of
     that action has been conclusively determined.



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Nken, 556 U.S. at 433–34. The Court further explained that “[t]he

first two factors of the traditional standard are the most

critical,” requiring more than “a mere ‘possibility’ of relief”

and more than “some ‘possibility of irreparable injury.’”. Id.

at 434 (cleaned up). “Once an applicant satisfies the first two

factors, the traditional stay inquiry calls for assessing the

harm to the opposing party and weighing the public interest.” Id.

at 435.

     The analysis of an injunction pending appeal is therefore

similar, but not identical to, the analysis of a motion for a

preliminary injunction as a matter of law. Relatedly, the

weighing of the four factors may change somewhat under the

injunction pending appeal analysis. For example, for purposes of

the preliminary injunction, this court noted that it “would

likely find the State’s interest in conducting its investigation

outweighs Plaintiff’s interest in enjoining the investigation.”

(Doc. 33 at 27 n.12.) Because Plaintiff has appealed the order

denying the injunction, arguably both parties have an interest in

receiving the guidance of a decision from a higher court before

proceeding further in this matter. That fact could change the

balancing of interests in the analysis.

     Nevertheless, after careful consideration of the applicable

factors, both for an injunction, see Real Truth About Obama,


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Inc., 575 F.3d at 347, and a stay, see Nken, 556 U.S. at 434–35,

this court concludes the motion should be denied. Even if this

court concludes that an alleged First Amendment violation

establishes irreparable harm and the Plaintiff’s interest

outweighs the Defendants’ interest in an injunction pending

appeal, Plaintiff has not established a sufficient likelihood of

success on the merits to support entry of a stay. Additionally,

for the reasons explained in the order denying the motion for a

preliminary injunction, (Doc. 33 at 16–26), it appears likely

that Younger applies and, if so, abstention is required. Even if

Younger does not apply, this court finds Plaintiff has not

established a likelihood of success on the merits.

     IT IS THEREFORE ORDERED that Plaintiff’s Emergency Motion

for Injunction Pending Appeal, (Doc. 35), is DENIED.

     This the 30th day of November, 2023.




                                 __________________________________
                                    United States District Judge




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